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 8 Richard Jacobs
                                UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10

11                                 SAN FRANCISCO DIVISION

12   WAYMO LLC,                                Case No. 17-cv-0939-WHA

13                Plaintiff,                   DECLARATION OF MARTHA BOERSCH
                                               IN SUPPORT OF NON-PARTY RICHARD
14          v.                                 JACOBS’ MOTION FOR
15                                             ADMINISTRATIVE RELIEF TO FILE
     UBER TECHNOLOGIES, INC.,                  CORRESPONDENCE UNDER SEAL
16
                  Defendant.
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                                                 DECLARATION OF MARTHA BOERSCH
                                                            Case No. 17-cv-0939-WHA
           Case 3:17-cv-00939-WHA Document 2299-1 Filed 11/28/17 Page 2 of 2



 1          1.       I, MARTHA BOERSCH, am an attorney licensed to practice law before the courts of
 2 the State of California and this Court. I make this declaration in support of Non-party Richard

 3 Jacobs’ Motion for Administrative Relief to File Portions of Correspondence Under Seal. I have

 4 personal knowledge of the facts stated herein and, if called upon, could and would testify

 5 competently thereto under oath.

 6          2.       Mr. Jacobs seeks to file the unredacted and redacted versions of the May 5, 2017 letter
 7 from Clayton Halunen to Uber (hereinafter the “Halunen Letter”), under seal.

 8          3.       The Halunen Letter contains information that, if disclosed, could damage the safety
 9 and security of Uber employees and vendors, as well as information that infringes on personal

10 privacy rights and could cause reputational harm.

11          4.       The Halunen Letter contains information relating to ongoing state and federal
12 investigations.

13          5.       The Halunen Letter was designated as a confidential settlement communication under
14 Federal Rule of Evidence 408.

15          6.       Attached hereto as Exhibit A is a true and correct copy of the Halunen Letter that
16 outlines Mr. Jacobs’ proposed redactions, numbered sequentially, in the event the Court declines to

17 designate the Halunen Letter as CONFIDENTIAL pursuant to the operative protective order.

18          7.       Attached hereto as Exhibit B is a true and correct copy of the Halunen Letter
19 containing Mr. Jacobs’ proposed redactions, in the event the Court declines to designate the Halunen

20 Letter as CONFIDENTIAL pursuant to the operative protective order.

21          I declare under penalty of perjury under the laws of the United States that the foregoing is true
22 and correct. Executed on this 28 day of November 2017, in Oakland, California.

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24                                                 /s/ Martha Boersch
                                                   Martha Boersch
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                                                      2       DECLARATION OF MARTHA BOERSCH
                                                                          Case No.: 14-cr-0580-PJH
